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EXHIBIT B

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129—
1 And meanwhile, we have the current online
2 forum going; but I can't spend much time on the
3 online forum because I'm working on putting this
4 expedition together and then doing the expedition.
5 When I got back from the expedition, the 2012 trip,
6 the old EPAC is fairly dead and the new forum,
7 without aggressive moderation, has been taken over by
8 naysayers and trolls, and it was just a mess. And I

3 started cleaning up Dodge City, and we turned it back

10 into a productive research tool, and it has been.
11 But part of that process was stopping the
12 discussion about underwater screen captures, the

L3 stuff that Mr. Mellon was posting, taking screen

14 captures and starting to put body parts, and stuff.
15 And it just -- I was getting private emails, and it
16 -- I let it go on for months, but it wasn't -- it

17 started in like late October and went through all of
18 January, all December, and then by mid January it had
i9 gotten so crazy that I'm getting emails from members,
20 and phone calls, saying what do you -- this is

21 hurting us, having stuff this crazy up there. People

22 come to see what's TIGHAR doing, and we're talking

23 about banjos? Come on. You've got to do something.
24 And I said, all right, all right.

295 And, of course, we know the effect that that

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by the current online forum, and it -- it kind of
withered away as the current online forum grew in
capability.

QO. At what point did it cease to exist?

A. Well, this would have been in the -- the old
EPAC kind af withered away I want to say in the
spring of 2012, because there was a big dispute
between me and Tom King about whether we should be
looking for the airplane. Here we've got this, hey,

we're going to go search for this airplane, a big --
a very high-profile thing.

And Tom is saying, oh, man, this is a huge
mistake. We shouldn't be doing this.

And he's posted on his private blog that we
shouldn't be doing it.

Oh, God, we've got a board member posting
that we shouldn't be doing this at all. Oh, shit.

And Tom and I have fought for years and
years. And what he does is try to gather followers
and then I get an email, several of us feel that --

You know, come on, we're not going to -- if
-- they can speak for themselves.

Just the usual in-fighting you get with any
group. And the old EPAC kind of dissolved in that

kind of nonsense.

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1 the -- it was in the 1990s, I know that, yeah. Yeah,
2 But this wasn't part of that, that's the odd
3 thing. Campbell got Fed Ex to agree to that through
4 their Washington office, and the person in the
3 Washington office that approved the in-kind shipping
6 for the expedition didn't even know that Fed Ex has
7 sponsored us for all this stuff all those years,
8 Q. You spoke earlier about first being
9 contacted by Mr. Mellon?
10 A. Uh-huh,
L1 Q. And that was --
12 A. March 22nd by email.
13 Qo. Okay. This is Exhibit number --
14 A. Yep.
15 Qo. -- 44, Is that the email you're --
16 A Yeah.
17 Qo. -- you're referring to?
18 A. Yeah, that's -- that's my wife, Pat
19 Thrasher, forwarding me an email from panam.captain
20 and she's saying, uh, ain't they gone?
21 oO. Referring to Pan Am?
22 A. Pan Am,
23 Qo. And what did you do in response to this
24 email?
25 A. I did what the email requested me ta da; I

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